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AO 2458 (Mod. D/NJ 12/06) Sheet 1 -Judgment in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                              District of New Jersey

UNITED STATES OF AMERICA

        v.                                                                 Case Number     2-Cr. 09-878 (3)

JAMAL MUHAMMAD

        Defendant.

                                               JUDGMENT IN A CRIMINAL CASE
                                      (For Offenses Committed On or After November 1, 1987)


         The defendant, JAMAL MUHAMMAD, was represented by Michael V. Gilberti, CJA.

         The defendant pled guilty to count(s) 3 & 4 of the Indictment on November 22, 2010. Accordingly, the court has adjudicated
that the defendant is guilty of the following offense(s):
                                                                                                                    Count
Title & Section                     Nature of Offense                                      Date of Offense          Number(s)

18 U.S.C. 371                       Conspiracy to Violate the Travel Act                   On or about June         3
                                                                                           2007 through on or
                                                                                           about January 29,
                                                                                           2010

18 U.S.C. 1952(a)(3)                Use of a Telephone to Violate the Travel Act.          June 21, 2007            4

       As pronounced on June 3, 2013, the defendant is sentenced as provided in pages 2 through § of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is ordered that the defendant shall pay to the United States a special assessment of $200 total, for count(s) 3 & 4, which
shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

          It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully
paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the
defendant's economic circumstances.

         Signed this the Loay of JUNE , 2013.




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AO 2458 (Mod. D/NJ 12/06) Sheet 2 -Imprisonment


                                                                                                      Judgment- Page 2 of 5
Defendant:        JAMAL MUHAMMAD
Case Number:      2-Cr. 09-878 (3)

                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
time served on each of Counts 3 & 4 , all such terms to be served concurrently.




                                                            RETURN

         I have executed this Judgment as follows:




    Defendant delivered o n - - - - - - - - - - - To ----~--------c-----------­
A t - - - - - - - - - - - - - - - - - - - - - - - - ' with a certified copy of this Judgment.


                                                                              United States Marshal
                                                                           By ______________
                                                                                   Deputy Marshal
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AO 2458 (Mod. 0/NJ 12/06) Sheet 3- Supervised Release


                                                                                                            Judgment- Page 3 of 5
Defendant:        JAMAL MUHAMMAD
Case Number:      2-Cr. 09-878 (3)

                                                        SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 3 years on each of
Counts Three and Four, all such terms to run concurrently.

         Within 72 hours of release from custody of the Bureau of Prisons, the defendant shall report in person to the Probation
Office in the district to which the defendant is released.

         While on supervised release, the defendant shall comply with the standard conditions that have been adopted by this court
as set forth below.

         The defendant shall submit to one drug test within 15 days of commencement of supervised release and at least two tests
         thereafter as determined by the probation officer.

         If this judgment imposes a fine, special assessment, costs, or restitution obligation, it shall be a condition of supervised
release that the defendant pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release and shall comply with the following special conditions:

         ALCOHOL/DRUG TESTING AND TREATMENT

         You shall refrain from the illegal possession and use of drugs, including prescription medication not prescribed in your
         name, and the use of alcohol, and shall submit to urinalysis or other forms of testing to ensure compliance. It is further
         ordered that you shall submit to evaluation and treatment, on an outpatient or inpatient basis, as approved by the U.S.
         Probation Office. You shall abide by the rules of any program and shall remain in treatment until satisfactorily discharged
         by the Court. You shall alert all medical professionals of any prior substance abuse history, including any prior history of
         prescription drug abuse. The Probation Officer shall supervise your compliance with this condition.



         The Court finds that the defendant does not have the ability to pay a fine. The Court will waive the find in this case.
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AO 2458 (Mod. D/NJ 12/06) Sheet 3a- Supervised Release


                                                                                                              Judgment - Page 4 of 5
Defendant:        JAMAL MUHAMMAD
Case Number:      2-Cr. 09-878 (3)

                                      STANDARD CONDITIONS OF SUPERVISED RELEASE

      While the defendant is on supervised release pursuant to this Judgment:

1)    The defendant shall not commit another federal, state, or local crime during the term of supervision.

2)    The defendant shall not illegally possess a controlled substance.

3)    If convicted of a felony offense, the defendant shall not possess a firearm or destructive device.

4)    The defendant shall not leave the judicial district without the permission of the court or probation officer.

5)    The defendant shall report to the probation officer in a manner and frequency directed by the Court or probation officer.

6)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

7)    The defendant shall support his or her dependents and meet other family responsibilities.

8)    The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
      other acceptable reasons.

9)    The defendant shall notify the probation officer within seventy-two hours of any change in residence or employment.

10) The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or administer any
    narcotic or other controlled substance, or any paraphernalia related to such substances.

11) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

12) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
    convicted of a felony unless granted permission to do so by the probation officer.

13) The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
    of any contraband observed in plain view by the probation officer.

14) The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
    officer.

15) The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
    the permission of the court.

16) As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
    criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
    confirm the defendant's compliance with such notification requirement.

(17) You shall cooperate in the collection of DNA as directed by the Probation Officer.

      (This standard condition would apply when the current offense or a prior federal offense is either a felony, any offense under
      Chapter 109A of Title 18 (i.e.,§§ 2241-2248, any crime of violence [as defined in 18 U.S. C.§ 16], any attempt or conspiracy
      to commit the above, an offense under the Uniform Code of Military Justice for which a sentence of confinement of more than
      one year may be imposed, or any other offense under the Uniform Code that is comparable to a qualifying federal offense);

(18) Upon request, you shall provide the U.S. Probation Office with full disclosure of your financial records, including co-mingled
     income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the financial accounts
     reported and noted within the presentence report, you are prohibited from maintaining and/or opening any additional individual
     and/or joint checking, savings, or other financial accounts, for either personal or business purposes, without the knowledge
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AO 2458 (Mod. 0/NJ 12/06) Sheet 3a- Supervised Release


                                                                                                                   Judgment- Page 5 of 5
Defendant:        JAMAL MUHAMMAD
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     and approval of the U.S. Probation Office. You shall cooperate with the Probation Officer in the investigation of your financial
     dealings and shall provide truthful monthly statements of your income. You shall cooperate in the signing of any necessary
     authorization to release information forms permitting the U.S. Probation Office access to your financial information and records;

(19) As directed by the U.S. Probation Office, you shall participate in and complete any educational, vocational, cognitive or any
     other enrichment program offered by the U.S. Probation Office or any outside agency or establishment while under supeNision;

(20) You shall not operate any motor vehicle without a valid driver's license issued by the State of New Jersey, or in the state in
     which you are supeNised. You shall comply with all motor vehicle laws and ordinances and must report all motor vehicle
     infractions (including any court appearances) within 72 hours to the U.S. Probation Office;


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    Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke
 supervision or (2) extend the term of supervision and/or modify the conditions of supervision.

    These conditions have been read to me. I fully understand the conditions, and have been provided a copy of
 them.

    You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any
 of his associate Probation Officers.
                                     (Signed) - - - - - - - - - - - - - - - - - - - - - -
                                                        Defendant                 Date



                                                     U.S. Probation Officer/Designated Witness              Date

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